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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



 NICOLE T. WORTMAN and SHANE                          Case No. 1:19-cv-02860
 W. WORTMAN, individually, and on
 behalf of all others similarly situated,
                                                      Honorable Virginia M. Kendall
 Plaintiffs,

 v.                                                   Magistrate Judge Jeffrey Cummings

 RUSHMORE LOAN MANAGEMNT
 SERVICES, LLC,

 Defendant.


 PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’
        AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)

        NICOLE T. WORTMAN and SHANE W. WORTMAN (“Plaintiffs”), individually, and

on behalf of all others similarly situated, by and through their undersigned counsel, respond to

RUSHMORE LOAN MANAGEMNT SERVICES, LLC’s (“Rushmore”) Motion to Dismiss

pursuant to Fed. R. Civ. P. 12(b)(6) (“Defendant’s Motion”) as follows:

                                      INTRODUCTION

        Defendant’s Motion highlights its fundamental misunderstanding of the legal effect of a

bankruptcy discharge and the principal purpose of the Bankruptcy Code, which is to provide the

honest but unfortunate debtor a fresh start. In an effort to undermine the protections afforded by

the Bankruptcy Code, Defendant’s Motion effectively asks this Court to ignore the Bankruptcy

Code and to enforce provisions of a pre-bankruptcy contract. Such a result would not only be



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inequitable, but would also devour the vital protections afforded to debtors seeking a fresh start,

thus rendering the bankruptcy process obsolete.

       Defendant’s Motion also highlights its miscomprehension of the prohibitions set forth by

the Fair Debt Collection Practices Act (“FDCPA”) and the mandates of the Truth in Lending Act

(“TILA”). Defendant’s assault on Plaintiffs’ FDCPA claims ignores the adage that if it looks,

walks, and sounds like a duck, it is probably a duck. Moreover, Defendant’s erroneous

interpretation of the mandates of TILA is refuted by the express language of the statute.

       Lastly, Defendant’s Motion ignores binding Seventh Circuit precedent pertaining to the

collection of late fees after a mortgage loan has been accelerated. Unfortunately for Defendant, the

Seventh Circuit has held that the assessment of late fees after acceleration is unlawful (absent

reinstatement, which is inapplicable here). For the reasons stated below, Defendant’s Motion must

be denied in its entirety as a matter of law.

                                         BACKGROUND

       On March 3, 2006, Plaintiffs obtained a mortgage loan from ABN AMRO Mortgage

Group, Inc. in the amount of $279,000.00 (“subject loan” or “subject debt”) to fund the purchase

of their principal residence located at 24633 Lincolnway Street, Plainfield, Illinois 60544 (“subject

property”). (Amend. Complt. ¶¶16-18.) After the origination of the subject loan, it was assigned

and/or transferred multiple times. (Complt. ¶¶19-20.) In 2016, Plaintiffs defaulted on the subject

loan. (Amend. Complt. ¶21.) At the time of default, Bank of America was servicing the subject

loan. (Amend. Complt. ¶¶20-21.)

       On November 30, 2016, Plaintiffs filed a Chapter 13 bankruptcy case in the Northern

District of Illinois. (Amend. Complt. ¶22.) Plaintiffs appropriately listed the subject debt on their

bankruptcy schedules as a secured debt in the amount of $274,171.00 owed to Bank of America.

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(Amend. Complt. ¶¶23-24.) Plaintiffs filed a Chapter 13 Plan that proposed to surrender the subject

property to Bank of America in full satisfaction of its claims. (Amend. Complt. ¶26.) Bank of

America did not object to Plaintiffs’ Chapter 13 Plan and the Chapter 13 Plan was subsequently

confirmed by the Bankruptcy Court on January 20, 2017. (Amend. Complt. ¶¶27-28.)

       Plaintiffs performed all their obligations as set forth by their confirmed Chapter 13 Plan.

(Amend. Complt. ¶29.) Accordingly, the Bankruptcy Court granted Plaintiffs a discharge on

September 11, 2017 pursuant to section 1328(a) of the United States Bankruptcy Code. (Amend.

Complt. ¶30.) Plaintiffs’ bankruptcy discharge extinguished Plaintiffs’ obligations and personal

liability on the subject loan and mortgage. (Amend. Complt. ¶31.) Moreover, Plaintiffs’

bankruptcy discharge invoked the protections of the Bankruptcy Discharge Injunction. See 11

U.S.C. §524.

       At some point after Plaintiffs’ bankruptcy discharge, Defendant obtained servicing rights

to the subject loan. (Amend. Complt. ¶33.) The subject loan was in default at the time Defendant

obtained servicing rights to the subject loan. (Amend. Complt. ¶34.) On April 16, 2018, Defendant

sent Plaintiffs a Notice of Intent to Foreclosure, which provided in pertinent part:


         “You are hereby formally notified that the mortgage loan associated with the referenced
         Deed of Trust/Mortgage is in default for failure to pay amounts due.

         ***
         This letter is a formal demand to pay $47,644.29. If the default together with additional
         payments that subsequently become due, is not cured by May 21, 2018, Rushmore Loan
         Management Services LLC will take steps to terminate your ownership in the property
         by a foreclosure by judicial proceeding and sale of the property.

On June 20, 2018, after the subject loan was accelerated, Defendant initiated mortgage foreclosure

proceedings against Plaintiffs and the subject property. (Amend. Complt. ¶38.) On July 11, August

10, and October 16 of 2018, Defendants sent Plaintiffs mortgage statements. (Amend. Complt.

¶¶39-47, Exhibits A-C). The mortgage statements indicated that Defendant assessed three separate
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late charges of $88.35 to the subject loan on June 18, July 16, and August 16 respectively. (Id.)

All the aforementioned mortgage statements contained the following language:

         “Rushmore Loan Management Services LLC is a Debt Collector, who is attempting
         to collect a debt. Any information obtained will be used for that purpose.”


        Plaintiffs brought individual and class claims against Defendant for violations of the

FDCPA and the Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”).

Plaintiffs allege that Defendant violated the FDCPA §§1692e(2), e(5), e(10), and f(1) and ICFA

by threatening and assessing late charges to Plaintiffs’ mortgage loan after it was accelerated.

Specifically, Plaintiffs contend that the absence of a monthly payment obligation after acceleration

and before reinstatement precludes the imposition of late charges for that period, thus rendering

any threats and imposition of late fees to be false, deceptive, and unauthorized by contract and

law.

                                       LEGAL STANDARD

        To survive a motion to dismiss brought pursuant to Rule 12(b)(6), “a complaint must

contain sufficient factual material, accepted as true, to ‘state a claim to relief that is plausible on

its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). In ruling on a pending motion to dismiss, the court must construe the

allegations in the complaint in a light most favorable to the plaintiff, accept as true all well-pleaded

factual allegations set forth therein, and draw all reasonable inferences in favor of the non-moving

party. Fednav Int’l Ltd. v. Continental Ins. Co., 624 F.3d 834, 837 (7th Cir. 2010). In the event the

court finds that dismissal is warranted, the court should grant the plaintiff leave to amend unless

amendment would be futile. Ford v. Neese, 119 F.3d 560, 563 (7th Cir. 1997).



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                                           ARGUMENT

        I.      The Notice and Cure Provision is Unenforceable

        Defendant contends that Plaintiffs’ claims must be dismissed because Plaintiffs failed to

provide Defendant with pre-suit notice and an opportunity to cure as required by the notice and

cure provision in the mortgage. Plaintiffs do not dispute that they did not provide Defendant with

pre-suit notice. However, Plaintiffs’ failure to do is not fatal to their claims because the notice and

cure provision is not enforceable by virtue of Plaintiffs’ bankruptcy discharge. Simply put, all of

Plaintiffs’ obligations as set forth by the provisions in the underlying loan and mortgage were

extinguished by virtue of Plaintiffs’ bankruptcy discharge. To require Plaintiffs to fulfill their

contractual obligations on a debt that was discharged in bankruptcy would effectively render the

bankruptcy discharge obsolete and would significantly frustrate “the principal purpose of the

Bankruptcy Code,” which is “to grant a ‘fresh start’ to the honest but unfortunate debtor.”

Marrama v. Citizens Bank of Mass., 549 U.S. 365, 367 (2007).

        Here, Defendant is effectively asking the Court to bind Plaintiffs to a provision of a

discharged debt. Such a result would be grossly inequitable and would render Plaintiffs’

bankruptcy discharge obsolete. Just as Plaintiffs’ personal liability on the subject debt was

discharged through the bankruptcy, so was the notice and cure provision. It would be absurd for a

bankruptcy discharge to extinguish some of Plaintiffs’ obligations on a discharged debt while

keeping others intact. Courts have recognized this absurd result and have refused to enforce notice

and cure provisions after a bankruptcy discharge. Specifically, in Lilly v. Bayview Loan Servicing,

LLC, 2017 U.S. Dist. LEXIS 164237, at *14 (M.D. Fla. 2017), the plaintiff brought FDCPA claims

against his mortgage company for attempting to collect on a discharged debt. Id. at *1. The

mortgage company, as here, brought a motion to dismiss based on the plaintiff’s failure to comply

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with the notice and cure provision in the mortgage. Id. at *3. The Lilly court declined to enforce

the notice and cure provision and held that the plaintiff is not bound by provisions of a discharged

debt. Id. at *14. Similarly, courts in this district have refused to enforce provisions of discharged

debt. In Jersntad v. Green Tree Servicing, Inc., 2012 U.S. Dist. LEXIS 108988 (N.D. Ill. 2012) (J.

Norgle), the plaintiffs brought FDCPA claims against their mortgage company for placing

collection calls to plaintiffs in an attempt to collect a discharged debt. Id. at *3. The defendant in

Jernstad moved to compel arbitration pursuant to a pre-bankruptcy arbitration agreement. Id. at

*4. The Jernstad court, recognizing the importance of providing bankruptcy debtors a fresh start,

declined to compel arbitration and ultimately found that plaintiffs’ “bankruptcy discharge rendered

the parties’ Arbitration Agreement unenforceable.” Id. at *6. The sound reasoning in Jernstad was

adopted by the court in Harrier v. Verizon Wireless Pers. Communs. LP, 2012 U.S. Dist. LEXIS

120419, at *2-3 (M.D. Fla. 2012). In Harrier, the court declined to enforce a pre-bankruptcy

arbitration provision and held that all pre-bankruptcy agreements between the parties were

“completely discharged and invalidated.” Id. at *3. Accordingly, this Court should follow the

reasoning in Lilly, Jernstad, and Harrier and hold that Plaintiffs’ bankruptcy discharge invalidated

the pre-bankruptcy notice and cure provision.

        Defendant’s Motion heavily relies on Rodriguez v. Rushmore Loan Mgmt. Serv., 2019

U.S. Dist. LEXIS 17202 (N.D. Ill. 2019) to support the contention that Plaintiffs’ failure to comply

with the notice and cure provision bars Plaintiffs’ claims. Defendant’s reliance must fail because

Rodriguez is easily distinguishable. Specifically, the mortgage loan in Rodriguez was not

discharged in bankruptcy as the subject loan in this case. Id. at *3 (noting that “Plaintiff is not in

bankruptcy and has not received a bankruptcy discharge.) As stated supra, Plaintiffs’ bankruptcy



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discharge invalidated the notice and cure provision. Accordingly, Rodriguez is distinguishable and

thus Defendant’s reliance on it misses the mark.

        II.     The Notice and Cure Provision Does Not Apply to Plaintiffs’ Claims

        Assuming that the notice and cure provision was not invalidated by Plaintiffs’ bankruptcy

discharge, Plaintiffs’ claims are still not barred because the notice and cure provision does not

apply to Plaintiffs’ claims. Specifically, Plaintiffs’ claims are not predicated on a violation of the

mortgage, but rather on violations of federal and state laws. In other words, Plaintiffs’ claims do

not arise from Defendant’s failure to perform an obligation required of it under the mortgage.

Courts have held that “[w]hen claims arise from actions taken pursuant to the contract or agreement

at issue, a valid notice and cure provision is a precondition to the suit. However, when a party’s

cause is based on a violation of federal law, rather than the contract or agreement, courts have held

that the notice and cure provision does not apply.” Rivera v. Select Portfolio Servicing, Inc., 2017

U.S. Dist. LEXIS 202880, at *6 (D. N.J. 2017) (internal citations omitted) (finding that a notice

and cure provision did not bar plaintiff’s FDCPA claims because “plaintiff’s causes of action are

not predicated on any purported violation of the mortgage…”).

        Similarly, other courts have held that the notice of cure provision does not apply to claims

arising from alleged violations of consumer protection statutes. See Foster v. Green Tree

Servicing, LLC, 2017 U.S. Dist. LEXIS 182740, at *7-8 (M.D. Fla. 2017) (holding that although

plaintiffs’ claims are related to the mortgage, the notice and cure provision is inapplicable because

the claims arise from alleged violations of consumer protection statutes and not from any alleged

breach of the mortgage contract); Colon v. Nationstar Mortg., LLC, 2015 U.S. Dist. LEXIS

158874, at *5 (S.D. Fla. 2015) (“Nevertheless, even if the notice and cure provision is connected

to the mortgage referenced in the Complaint, it cannot be stretched to ensnare pre-suit conduct

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concerning a consumer protection statute that is not directly connected to the performance of the

duties in the Mortgage.”); Belcher v. Ocwen Loan Servicing, LLC, 2016 U.S. Dist. LEXIS 173271,

at *11 (M.D. Fla. 2016) (finding the notice and cure provision inapplicable because plaintiff has

statutory rights under federal and state law that are independent from the requirement under the

mortgage agreement to give pre-suit notice).

        Here, enforcing the notice and cure provision to bar Plaintiffs’ claims would devour the

protections provided to Plaintiffs by the FDCPA and ICFA. Courts in this district have

acknowledged this deprivation and have declined to enforce notice and cure provisions that devour

consumer protection statutes. See Abercrombie v. Wells Fargo Bank, N.A., 417 F. Supp. 2d 1006,

1008 (N.D. Ill. 2006) (J. Kennelly) (holding that the enforcement of the notice and cure provision

“would utterly defeat” the purpose of a consumer protection statute.) Simply put, the enforcement

of notice and cure provisions such as the one here would render consumer protection statutes

obsolete as mortgage companies could simply contract around federal and state consumer

protection statutes. Such a result would be against public policy as it would leave consumers

powerless against entities that the consumer protection statutes strive to regulate. Accordingly, this

Court should find that the notice and cure provision does not apply to Plaintiffs’ claims.


        III.    TILA Does Not Require Defendant to Issue Mortgage Statements on
                Discharged Debt; Defendant’s Mortgage Statements Were in Connection
                with the Collection of a Debt

       Defendant next argues that its mortgage statements were not communications in connection

with the collection of a debt because Defendant was required to send the mortgage statements by

TILA and Regulation Z. Unfortunately for Defendant, the relevant TILA provision requiring

mortgage statements does not apply to mortgage debt that was (1) discharged in bankruptcy or (2)

surrendered in bankruptcy by the consumer. Specifically, 12 C.F.R. §§1026.41(e)(5)(i)(A) and
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(e)(5)(i)(B)(2) expressly exempt mortgage servicers from the requirements of sending mortgage

statements if (1) the consumer on the mortgage loan “has discharged [their] personal liability for

the mortgage loan” in bankruptcy or (2) “the consumer’s bankruptcy plan provides that the

consumer will surrender the dwelling securing the mortgage loan…” Id.

       Here, it is undisputed that (1) Plaintiffs’ personal liability on the mortgage loan was

discharged in bankruptcy, and (2) Plaintiffs’ bankruptcy plan provided for the surrender of the

property securing the mortgage loan. (Amend. Complt. ¶¶26-28, 30-31.) Moreover, and consistent

with the statute, the Bureau of Consumer Financial Protection’s Official Comments supplementing

12 C.F.R. §1026, states that “[t]he periodic statement is not required for any portion of the

mortgage debt that is discharged under applicable provisions of the U.S. Bankruptcy Code.” 12

C.F.R. §1026.41, Supp. I, Part 3, Comment 41(e)(5) (emphasis added). Accordingly, the express

language of TILA and its supplemental authority refute Defendant’s contention that the mortgage

statements were required by the statute. See McNamee v. Nationstar Mortg. LLC, 2014 Bankr.

LEXIS 5412, at *35-38 (Bankr. S.D. Ohio 2014) citing 12 C.F.R. §1026.41, Supp. I, Part 3,

Comment 41(e)(5) (“The court concludes that 12 C.F.R. §1026.41 does not require [lender] to send

post-discharge mortgage loan statements that continue to request payment on a discharged debt.)

Notably, all the authority cited by Defendant to support its position that the mortgage statements

were required by TILA does not involve mortgage debt that was discharged in bankruptcy,

presumably because no such authority exists as the express language of 12 C.F.R. §1026.41 does

not require lenders to send mortgage statements for discharged mortgage debt.

       Moreover, courts in this District, including this one, have repeatedly held that TILA does

not shield lenders from liability under the FDCPA for sending communications that a consumer

could interpret as demanding payment of a discharged debt. See Price v. Seterus, 2016 U.S. Dist.

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LEXIS 48028, at *13-15 (N.D. Ill. 2016) (J. Kendall) (finding that federal law does not require

lenders to send post-discharge letters that may be construed as attempts to collect discharged

debt); Azari v. Seterus, Inc., 2016 U.S. Dist. LEXIS 143139, at *7-9 (N.D. Ill. 2016) (J. Darrah)

(finding that TILA does not require a lender to make a demand for payment after a bankruptcy

discharge; denying lender’s motion to dismiss consumer’s FDCPA claim); Murray v. Fay

Servicing, LLC, 17-cv-05431, Dkt. 35, at pg. 4 (N.D. Ill. 2018) (J. Bucklo) (rejecting lender’s

contention that TILA requires it to send post-discharge mortgage statements that demand payment

on discharged debt). Based on the foregoing, Defendant’s argument that it had a legal obligation

under TILA to send the mortgage statements must fail as a matter of law.

       In light of the fact that TILA does not require Defendant to send mortgage statements on

discharged debt, the mortgage statements were clearly in connection with the collection of a debt.

Specifically, the mortgage statements expressly stated “Rushmore Loan Management Services,

LLC is Debt Collector, who is attempting to collect a debt.” (Amend. Compl., Exhibits A-C, pg.

1) (emphasis added). Moreover, the mortgage statements contained (a) an amount due; (b) a

payment due date; and (c) threatened late fees. Realizing that the face of the mortgage statements

support the conclusion that that they are in connection with a collection of a debt, Defendant, in

a footnote, seems to argue that the mortgage statements are benign because they contain language

that the mortgage statements are for       informational purposes in the event Plaintiffs filed

bankruptcy. (Def. Mot. pg. 8). Unfortunately for Defendant, courts in this District, including this

one on multiple occasions, have found that despite bankruptcy disclaimer language contained in

post-discharge communications, a reference to a specific amount due supports a finding that the

communication’s purpose is to collect a debt. Price, 2016 U.S. Dist. LEXIS 48028, at *11-13 (J.

Kendall) (despite bankruptcy disclaimer language, reference to a specific amount due and when

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such an amount would be due support a finding that communication was meant to collect a debt);

Massey v. Bayview Loan Servicing, LLC, No. 16-cv-4491, Dkt. 26, pgs. 3-5 (N.D. Ill. 2016) (J.

Kendall) (despite bankruptcy disclaimer language, references to specific amounts owed, the

parties’ debtor-debtee relationship, and the context of the letter, support a finding that the

communications could plausibly have been meant to collect a debt); Tate v. Ocwen Loan Servicing,

LLC, No. 14-cv-05528, Dtk. 20 (N.D. Ill. 2015) (J. Bucklo) (bankruptcy disclaimer insufficient to

negate the overall meaning of the letter); Radney v. Bayview Loan Servicing, LLC, 2016 U.S. Dist.

LEXIS 84877, at *9-10 (N.D. Ill. 2016) (J. Darrah) (despite bankruptcy disclaimer, post-discharge

communications could be construed as attempts to collect a debt); Freeman v. Ocwen Loan

Servicing, LLC, 2016 U.S. LEXIS 82751, at *15-16 (N.D. Ill. 2016) (J. Gottschall) (declining to

find, at the pleading stage, that post-discharge communications were informational and not made

in connection with the collection of a debt); Gagnon v. JPMorgan Chase Bank, N.A., 2017 U.S.

Dist. LEXIS 374, at *13-17 (N.D. Ill. 2017) (J. Dow) (written communication that included

bankruptcy disclaimer language could be construed as attempt to collect a discharged debt); Azari,

2016 U.S. Dist. LEXIS 143139, at *5-7 (J. Darrah) (finding bankruptcy disclaimer language did

not shield creditor from the prohibitions of the FDCPA.) In light of the overwhelming authority

and this Court’s own rulings on the precise legal issue, this Court should find that Defendant’s

mortgage statements were in connection with the collection of a debt.

        IV.     Late Fees Can Only Be Assessed Upon Reinstatement; Defendant Cannot
                Assess Late Fees Absent Reinstatement

       Defendant correctly contends that late fees can be assessed after acceleration and upon

reinstatement of a loan. However, late fees could not be assessed on Plaintiffs’ loan because they

never sought to reinstate the loan. Here, Defendant does not and cannot argue that Plaintiffs sought


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to reinstate the loan. As demonstrated by Plaintiffs’ confirmed bankruptcy plan, Plaintiffs elected

to surrender the subject property to Bank of America in full satisfaction of its claims. (Amend.

Complt. ¶¶26-28.) Simply put, Plaintiffs wanted nothing to do with the subject property and never

sought to reinstate the loan. The Seventh Circuit in Rizzo v. Pierce & Assocs., 351 F.3d 791, 793-

794 (7th Cir. 2003) addressed the issue of whether late charges can be assessed after acceleration

and held that late charges can only be assessed if the borrower reinstates the loan. Id. (emphasis

added). Notably, unlike here, the borrowers in Rizzo did reinstate the loan. Id. at 794. The Seventh

Circuit highlighted the distinction as follows:

          It is undisputed that the Rizzos did not make a certain number of monthly payments.
          Because of this failure, foreclosure was sought. In order to avoid foreclosure, the Rizzos
          reinstated the mortgage. In so doing, plaintiffs had to “pay all sums which would be
          then due under this Mortgage and the Note had no acceleration occurred.” Plaintiffs
          repeatedly argue “if late charges are tied to overdue ‘monthly payments,’ the absence
          of any ‘monthly payment’ obligation after acceleration and before reinstatement
          precludes the imposition of late charges for that period.” This argument is flawed in that
          it claims there is an absence of an obligation to make monthly payments after
          acceleration. While this may be the case when the borrower does not seek to reinstate,
          it is not the case here.” Id. at 794. (emphasis added).

As demonstrated by Rizzo, Defendant cannot assess late charges after acceleration and

absent reinstatement, precisely what Defendant did here. Specifically, Defendant’s

mortgage statements each indicated that a late charge of $88.35 was actually assessed on

the loan as follows:

                                     Transaction Activity (01/01/2018 to 07/11/2018)
  Date                 Description                 Principal     Interest   Escrow     Late Charge     Other   Total
  06/18         LATE CHARGE ASSESS                                                       88.35
(Amend. Cmplt., Exhibit A, pg. 3)

                                   Transaction Activity (02/01/2018 to 08/10/2018)
  Date                 Description               Principal     Interest   Escrow       Late Charge     Other   Total
  07/16         LATE CHARGE ASSESS                                                       88.35
(Amend. Cmplt., Exhibit B, pg. 3)


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                                   Transaction Activity (04/01/2018 to 10/16/2018)
  Date               Description                 Principal     Interest   Escrow     Late Charge   Other   Total
  08/16         LATE CHARGE ASSESS                                                     88.35
(Amend. Cmplt. Exhibit C, pg. 3)

As demonstrated by the face of the mortgage statements, Defendant assessed three separate late

charges despite the fact that Plaintiffs never sought reinstatement. Such charges are not authorized

by the underlying contract or law. As noted in Rizzo, many courts have uniformly held that “a

lender cannot demand payment of late fees for failure to make monthly payments after the loan

has been accelerated.” Rizzo, 351 F.3d at 793. Accordingly, this Court must follow binding

precedent in Rizzo and similarly hold that late charges cannot be assessed after acceleration and

absent reinstatement.

          V.     Defendant’s Mortgage Statements Were Misleading, Deceptive, and Unfair

          Defendant next argues that nothing about the mortgage statements was misleading,

deceptive, and unfair. Defendant’s argument is without merit. Specifically, §1692f(1) of the

FDCPA expressly provides that “the collection of any amount (including any interest, fee, charge,

or expense incidental to the principal obligation) unless such amount is expressly authorized by

the agreement creating the debt or permitted by law” is unfair and unconscionable, and is a

violation the Act. 15 U.S.C. §1692f(1). As stated supra, the assessment of the late fees was not

authorized by the underlying mortgage contract or law. Accordingly, the assessment of the late

fees violates the FDCPA as a matter of law.

          Moreover, Defendant’s argument that the mortgage statements were not false and

deceptive under §1692e must fail as well. Section 1692e of the FDCPA prohibits a debt collector

from using “any false, deceptive, or misleading representation or means with the collection of any

debt.” 15 U.S.C. §1692e. In determining whether a collection letter violates the FDCPA, the letter

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must be viewed through the eyes of the “unsophisticated consumer.” Wahl v. Midland Credit

Mgmt., 556 F.3d 643, 645 (7th Cir. 2009). “While the unsophisticated debtor is considered

‘uninformed, naive, or trusting,’ he is nonetheless deemed to possess ‘rudimentary knowledge

about the financial world and is capable of making basic logical deductions and inferences.’”

Durkin v. Equifax Check Servs., 406 F.3d 410, 414 (7th Cir. 2005) (internal quotations omitted).

The “test for determining whether a debt collector violated §1692e is objective, turning not on the

question of what the debt collector knew but on whether the debt collector’s communication would

deceive or mislead an unsophisticated, but reasonable, consumer.” Wahl, 556 F.3d at 646.

       Here, the mortgage statements were deceptive, false, and misleading because they created

the impression that Plaintiffs are subject to late fees even if they do not reinstate the loan. Nowhere

in the mortgage statements does it state that the late fees are applicable only if the reinstatement is

sought. Accordingly, it leads the reader to believe that late charges will be assessed regardless of

whether reinstatement is effectuated. In any event, it would be inappropriate for the Court to

dismiss Plaintiffs’ claims at this stage of the litigation because “the rule in the Seventh Circuit [is]

that the unsophisticated consumer standard is generally a fact issue that cannot be decided at the

pleading stage.” Janetos v. Fulton Friedman & Gullace, LLP, 2013 U.S. Dist. LEXIS 29655, at

*17 (N.D. Ill. 2013) (reversed on unrelated grounds) citing Walker v. National Recovery, Inc., 200

F.3d 500, 501 (7th Cir. 1999). Specifically, the Seventh Circuit in Walker held that a “complaint

alleging that a particular notice confuses recipients may not be dismissed under Fed.R.Civ.P.

12(b)(6)—not only because ‘this notice is confusing’ states a claim on which relief may be granted,

but also because district judges are not good proxies for the ‘unsophisticated consumers’ whose

interests the statute protects.” Id. at 501; see also McMillan v. Collection Prof’l Inc., 455 F.3d 754,

759 (7th Cir. 2006) (“We have cautioned that a district court must tread carefully before holding

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that a letter is not confusing as a matter of law when ruling on Rule 12(b)(6) motion” in an FDCPA

case). Accordingly, Defendant’s attempt to dispose of Plaintiff’s FDCPA claims at the pleading

stage must fail in accordance with the mandates of the Seventh Circuit.


        VI.     The CFPB’s Template is Inapplicable to Discharged Debt

        In its last effort to dispose Plaintiffs’ claims, Defendant contends that the mortgage

statements follow the template provided by the CFPB. Specifically, Defendant, citing 12 C.F.R.

§1026.41, argues that “TILA and the CFPB (through Regulation Z) mandate that servicers send

borrowers mortgage statements on a monthly basis because the CFPB has determined that monthly

mortgage statements ‘provide useful information to consumers regardless of the collection

status.’” (Def. Mot. pg. 14). Defendant’s argument fails for the same reasons set forth in Section

III of this brief. Simply put, TILA and the CFPB’s Official Comments on TILA do not require

that mortgage statements be sent for discharged debt. Moreover, Defendant’s reliance on the CFPB

form must fail because the CFPB Official Comments did not require Defendant to charge late fees

that are not authorized by contract or law. Lastly, assuming that the CFPB form required the

unauthorized assessment of late fees, any CFPB interpretations or forms are not binding on this

Court. See Collopy v. Dynamic Recovery Solutions, LLC., 2017 U.S. Dist. LEXIS 51606, at *7

(N.D. Ill. 2017) citing Christensen v. Harris County, 529 U.S. 576, 587 (2000) (“Interpretations

contained in policy statements, agency manuals, and enforcement guidelines, all of which lack the

force of law – do not warrant Chevron-style deference.”); see also Madinya v. Portfolio Recovery

Assocs., LLC, 2018 U.S. Dist. LEXIS 160501, at *14-15 (S.D. Fla. 2018) (rejecting CFPB safe

harbor argument as non-binding). Accordingly, Defendant’s reliance on the CFPB’s form must

fail.


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                                      CONCLUSION

       For the reasons stated above, Defendant’s Motion should be denied in its entirety as a

matter of law.

Dated: August 16, 2019                                   Respectfully Submitted,


                                                         /s/ Mohammed O. Badwan
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                             CERTIFICATE OF SERVICE
       I, Mohammed O. Badwan, an attorney, certify that on August 16, 2019, I caused the
foregoing to be served upon counsel of record through operation of the Court’s Case
Management/Electronic Case File (CM/ECF) system.



                                                      /s/ Mohammed O. Badwan




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